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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

LATRINA COTHRON, Individually and   )
on behalf of similarly situated individuals,
                                    )
                                    )                     Case No. 1:19-cv-00382
                         Plaintiff, )
    v.                              )
                                    )
WHITE CASTLE SYSTEM, INC. D/B/A     )
WHITE CASTLE and CROSS MATCH        )
TECHNOLOGIES, INC.,                 )
                                    )
                      Defendants. )

                                   INDEX OF EXHIBITS

Exhibit                                        Description

   1.     Group Exhibit containing the following documents:

                 Class Action Complaint (December 6, 2018)

                 Affidavit of Service to Cross Match Technologies, Inc. (January 3, 2019)

                 Amended Class Action Complaint (January 8, 2019)



   2.     Plaintiff’s Amended Motion for Class Certification and Request for Discovery on
          Certification Issues (January 8, 2019)

   3.     Florida Secretary of State Record

   4.     Illinois Secretary of State Record
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Hearing Date: 1/16/2019 9:30 AM" 9:30 AM
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                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN
                                COUNTY DEPARTMENT, CHANCERY DIVISION      CIRCUIT CLERK
                                                                                                   COOK COUNTY, IL
                                                                                                   2018CH15233
             LATRINA COTHRON, Individually,                       )
             and 011 behalf of all others similarly situated,     )
                                                                  )
                                    Plaintiff,                    )
                                                                  )     Case No. 18-CH-15233
                    v.                                            )
                                                                  )
             WHITE CASTLE SYSTEM, INC. D/B/A                      )
             WHITE CASTLE, and CROSS MATCH                        )
             TECHNOLOGIES, INC.,                                  )
                                                                  )
                                    Defendants.                   )


              PLAINTIFF'S AMENDED MOTION .FOR CLASS CERTll<'ICATION AND REQUEST
                            J?OR DISCOVERY ON CERTIFICATION ISSUES

                    Plaintiff Latrina Cothron ("Plaintiff') alleges that Defendants White Castle System, Inc.

             d/b/a White Castle ("White Castle") and Cross Match Technologies, Inc., ("Cross Mutch")

             (collectively, "Defendants"), systematically violated the Biometric Information Privacy Act

             ("BIPA") 740 ILCS 14/1, et seq. This case is well suited for class certification pursuant to 735

             [LCS 5/2-80 l. Specifically, Plaintiff seeks to certify a class consisting of hundreds of former and

             current similarly-situated employees who worked for White Castle in the State of Illinois who had

             their fingerprints unlawfully collected, captured, received, otherwise obtained, or disclosed by

             Defendants during the applicable statutory period in violation ofBIPA. The question of liability is

             a legal question that can be answered in one fell swoop. As Plaintiffs claims and the claims of

             similarly-situated individuals all arise from Defendants' uniform policies and practices, they

             satisfy the requirement of 735 ILCS 5/2-80 I and should be certified.

                    Plaintiff moves for class certification to protect members of the proposed class, individuals

             whose proprietary and legally protected personal and private biometric data was invaded by
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         Defendants. Plaintiff believes that the evidence and argumentation submitted within this motion

         are sufficient to allow the class to be certified now. However, in the event the Court (or

         Defendants) wishes for the parties to undertake formal discovery prior to the Court's consideration

         of this motion, Plaintiff requests that the Court allow her to supplement her briefing and defer the

         response and reply deadlines.

                                         I.   RF~Lli:VANT .BACKGROUND

~                   A. The Biometric Information Privacy Act
fil--'
u.              Major national corporations started using Chicago and other locations in lllinois in the

         early 2000s to test "new [consumer] applications of biometric-facilitated financial transactions,

         including finger•scan technologies at grocery stores, gas stations, and school cafeterias." 740 !LCS

         14/S(c). Given its relative infancy, an overwhelming portion of the public became wary of this

         then-growing, yet unregulated, technology. See 740 ILCS 14/5.

                The Biometric Information Privacy Act, 740 ILCS 14/1, et seq. was enacted in 2008,

         arising from concerns that these experimental uses of finger-scan technologies created a "very

         serious need of protections for the citizens of J.llinois when it comes to biometric information."

         Illinois House Transcript, 2008 Reg. Sess.    No.   276. Under the Act, it is unlawflll for a private

         entity to, among other things, "collect, capture, purchase, receive through trade, or otherwise

         obtain a person's or a customer's biometric identifiers or biometric information unless it first:

                            (I) Informs the subject ... in writing that a biometric identifier or
                                biometric information is being collected or stored;

                            (2) Informs the subject ... in writing of the specific purpose and length
                                of term for which a biometric identifier or biometric information is
                                being collected, stored, and used; and

                            (3) Receives a written release executed by the subject of the biometric
                                identifier or biometric information."




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     740 ILCS 14/!S(b).

"'          Although there may be benefits with using biometrics in the workplace, there are also
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I
0    serious risks. Unlike ID badges- which can be changed or replaced if stolen or compromised -
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;;
N
     fingerprints are a unique, permanent biometric identifier associated with each individual. These

     biometrics are biologically unique to the individual; once compromised, the individual has         1111


     means by which to prevent identity theft, unauthorized tracking, or other unlawful or improper use

     of this information. This ex:poses individuals to serious and irreversible privacy risks. For example,

     if a biometric database is hacked, breached, or otherwise exposed-as in the recent Equifax, Home

     Depot, Omni Hotels & Resorts, Trump Hotels, and Facebook/Cambridge Analytica data breaches,

     to name a few -· individuals have no means to prevent the misappropriation and theft of their

     proprietary biometric makeup. Thus, recognizing the need to protect its citizens from harms like

     these, Illinois enacted BlPA specifically to regulate the collection, use, safeguarding, handling,

     storage, retention, and destruction of biometric identifiers and information.

                A. Factual Allygations

            Plaintiff Latrina Cothron filed the original class action aga.inst Defendants on Decernber 6,

     2018, to redress Defendants' unlawful collection, use, storage, and disclosure of biometric

     information of White Castle employees under BlPA. Plaintiff filed an Amended Class Action

     Complaint on January 8, 2019. ln her Amended Class Action Complaint, Cothron provided

     detailed allegations that White Castle employees were and continue to be universally required to

     scan their fingerprints for enrollment in an employee database(s) as a condition of their

     employment, but. are not: (l) informed in writing of the purpose(s) and length of time for which

     fingerprint data is being collected, stored, used, and disseminated by Defendants; (2) provided a

     publicly available retention schedule or guidelines for pennanent destruction of the biometric data




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by Defendants; and (3) provided (nor did they execute) a written release for Defendants, as

required by BIPA. See Amended Comp!.           ~1 11-12.
       Cothron was hired by White Castle in 2004 and is currently working as a manager. Id.           ~


53. As a condition of employment, Cothron was required to scan her fingerprint to access White

Castle computers and her paystubs. Id.           1 54. White Castle subsequently stored Cothron's
fingerprint data in its DigitalPersona employee database. Id.      1 55.   Cothron was required to scan

her fingerprint each time she accessed her paystub or a company computer. Id. ~ii 56-57. However,

Defendants failed and continue to fail to inform White Castle employees, including Cothron, of

the extent of the purposes for which they collect individuals' sensitive biometric data or to whom

the data is disclosed. Id.   ii~   11, 12, 44, 45, 50, 58. Defendants similarly failed to provide White

Castle employees, including Cothron, with a written, publicly available policy identifying their

retention schedule and guidelines for permanently destroying individuals' fingerprint data when

the initial purpose for collecting or obtaining their fingerprint is no longer relevant, as required by

BIPA. Id.   1~ I l-12, 15, 46, 48, 50, 59, 95-96, 106. Employees, including Cothron., have no
knowledge when they leave the company of when - if ever - their biometric identifiers will be

removed from Defendants' database(s). /d, iii! 48-49, 98. White Castle employees are not told what

might happen to their biometric data if and when Defendants merge with another company or,

worse, if and when Defendants' entire businesses fold, Id. Since Defendants neither publish a

BIPA-mandatcd data retention policy nor disclose the purposes for their collection of biometric

data, employees, including Cothron, have no idea whether any Defendant sells, discloses, re-

discloses, or otherwise disseminates their biometric data. Id. ii 50. Nor are employees told to whom

any Defendant currently discloses their biometric data or what might happen to their biometric

data in the event of a merger or a bankruptcy. Id. Finally, Defendants never secured a written




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release executed by any of White Castle' employees, including Cothron, permitting them to

collect, store, use, and disseminate employees' biometric data, as required by BIPA. Id. 11 l I.· 12,

44-45, 60, 67, 92.

        Accordingly, Defendants' practices violated BIPA. As a result of Defendants' violations,

Plaintiff and similarly-situated individuals were subject to Defendants' common and uniform

policies and practices and were victims of their schemes to unlawfully collect, store, use, and

disseminate White Castle employees' biometric data in direct violation of BIPA. As a result of

Defendants' violations of BlPA, Plaintiff and all other similarly-situated individuals suffered an

invasion of privacy and other damages. 1

        Plaintiff now seeks class certificatioo for the following similarly-situated individuals,

defined as:

        All individuals working for White Castle in the State of Illinois who had their
        fingerprints collected, captured, received . or otherwise obtained or disclosed by any
        Defendant during the applicable statutory period.

        Given Defendants' standard practices defined above and the straightforward and common

legal questions presented in this case, Plaintiff now moves for class certification. Notably, this

mot.ion is being filed shortly afler the Amended Complaint was filed and before any Defendant

has responded. The parties have not discussed settlement, neither settlement offers nor demaods

have been made, and a scheduling order has not been issued. Por the reasons discussed herein,

Plaintiffs request should be granted.


         BIPA does not require Plaintiff and the putative class to have suffered actual damages. Nonetheless,
Plaintiff and the putative class have suffered an invasion of a legally protected interest when Defendants
secured their personal and private biometric data at a time when they had no right to do so, an invasion of
Plaintiffs and the putative Class's right to privacy; an informational injury because Defendants did not
provide them with information to which they were entitled by statute; and mental anguish when
contemplating what would happen to their biometric data if and when Defendants go out of business,
whether Defendants will ever delete theit· biometric information, and whether (and to whom) Defendants
share their biometric information.

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                      II.    STANDARD FOR CLASS CERTIFICATION

       "The basic purpose ofa class action is the efficiency and economy of litigation." CE Design

ltd. v. C & T Pizza, Inc., 2015 IL App. ( Ist) I 31465, ,r 9 (Ill. App. Ct. May 8, 2015) (citing Miner

v. Gille/le Co., 87 Ill. 2d 7, 14 (1981)). "In determining whether to certify a proposed class, the

trial court accepts the allegations of the complaint as true and should err in favor of maintaining

class cmtification." CE Design Ltd., 2015 IL App. (1st) 131465,      ,r 9 (citing Ramirez v.   Midway

Moving & Storage, Inc., 378 Ill. App. 3d 51, 53 (2007)). Under Section 2-80 I of the Code of Civil

Procedure, a class may be certified if the following four requirements are met:

       ( l) the class is so numerous that a joinder of ,111 members is impracticable;

        (2) there are questions of fact or law common to the class that predominate over
            any questions affecting only individual members;

        (3) the representative parties will fairly and adequately protect the interest of the
            class; and

        (4) the class action is an appropriate method for the fair and efficient adjudication
            of the controversy.

See Smith v. Illinois Cent. R.R. Co., 223 lll. 2d 441,447 (2006) (citing 735 ILCS 5/2-801 ). Notably,

"[a] trial court has broad discretion in determining whether a proposed class meets the

requirements for class certification." CE Design Ltd., 2015 IL App. (1st) 131465, ~ 9 (citing

Ramirez, 378 lll. App. 3d at 53). Here, the allegations and facts in this case amply demonstrate

that the four certification factors are met.

                                        HI.    ARGUMENT

        Plaintiff's claims here are especially suited for class certification because Defendants

treated all White Castle employees identically for the purposes of applying BIPA. All of the

putative class members in this case were uniformly subjected to the same illegal and unlawful

collection, storage, use, and dissemination of their biometric data that was required as a condition



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       of employment throughout the class period. Plaintiff meets each of the statutory requirements for

"      maintenance of this suit as a class action. Thus, the class action device is ideally suited and is far
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       superior to burdening the Court with many individual h1wsuits to address the same issues,
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       undcitake the same discovery, and rely on the same t.estimony.

              A.      The Class ls So Numerous That Joindyr of All Members Is Impracticable.

              Numerosity is not dependent on a plaintiff setting forth a precise number of class members

       or a listing of their names. See Cruz v. Unilock Chicago, 383 Ill. App. 3d 752, 771 (2d Dist. 2008)

       ("Of course, plaintiffs need not demonstrate a precise figure for the class size, because a good·

       faith, non-speculative estimate will suffice; rather, plaintiffs need demonstrate only that the class

       is sufficiently numerous to make joindcr of all of the members impracticable.") (internal citations

       omitted); Hayna v. Arby ·s, Inc., 99 Ill. App. 3d 700, 710-11 ( Ist Dist. 198 l) ("lt is not necessary

       that the class representative name the specific individuals who are possibly members of the

       class."). Courts in Illinois generally find numerosity when the class is comprised of at least 40

       members. See Wood River Area Dev. Co111. v. Germania Fed Sav. Loan Ass 'n, 198 Ill. App. 3d

       445, 450 (5th Dist. 1990).

               In the present case, there can be no serious dispute that Plaintiff meets the numerosity

       requirement. The class of potential plaintiffs is sufficiently large to make joinder impracticable.z

       As a result of Defendants' violations ofBIPA, Plaintiff and all similarly-situated individuals were

       subjected to Defendants' common and uniform policies and practices and were victims of

       Defendants' schemes to unlawfully collect, store, use, and disseminate their extremely personal

       and private biometric data in direct violation ofBIPA. As a result of Defendants' violations of the



               Upon information and belief, White Castle employs hundreds of workers. many of whom are
       members of the class.



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       Act, Plaintiff and all other similarly-situated individuals suffered an invasion of privacy as well as

"'     informational and personal injury. The precise number in the class cannot be determined until
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0      discovery records are obtained from Defendants. Nevertheless, class membership can be easily
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       determined by reviewing Defendants' records. A review of Defendants' files regarding the

       collection, storage, use, and dissemination of White Castle employees' biometric data performed

       during the class period is all that is needed to determine membership in Ph1intiffs proposed class.

       See e.g., Chu/tem v. Ticor Title Ins. Co., 401 Ul. App. 3d 226, 233 (1st Dist. 2010) (reversing

       Circuit Couti's denial of class certification and holding that class was certifiable over defendant's

       objection that "the proposed class was not ascertainable, because the process of reviewing

       defendant's transaction files to determine class membership would be burdensome"); Young v.

       Nationwide Mui. Ins. Co., 693 F.3d 532, 539-40 (6th Cir. 2012)' (rejecting the argument that

       manual review of files should defeat certification, agreeing with district court's reasoning that, if

       manual review was a bar, "defendants against whom claims of wrongful conduct have been made

       could escape class-wide review due solely to the size of their businesses or the manner in which

       their business records were maintained," and citing numerous courts that are in agreement,

       including Perez v. First Am. Title Ins. Co., 2009 WL 2486003, at •7 (D. Ariz. Aug, 12, 2009)

       ("Even if it takes a substantial amount of time to review files and determine who is eligible for the

       [denied] discount, that work can be done through discovery")). Once Defendants' records are

       obtained, the Court will know the precise number of persons affected.

               Absent certification of this class action, White Castle employees may never know that their

       legal rights have been violated, and as a result, may never obtain the redress to which they are


       '        "Section 2-80 I is patterned after Rule 23 of the Federal Rules of Civil Procedure and, because of
       this close relationship between the state and federal provision, 'federal decisions interpreting Rule 23 are
       persuasive authority with regard to questions of class certification in Illinois."' Cru..:, 383 Ill. App. 3d at
       761 (quoting Ave,,, v. State Farm Mutual Automobil" Insurance Co., 216 IIL2d 100, 125 (2005)).


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entitled under BIPA. Illinois courts have noted that denia.l of c.lass certification where members   of
the putative class have no knowledge of the lawsuit may be the "equivalent of closing the door of

justice" on the victims. Wood River Area Dev. Corp. v. Germania Fed. Sav. & Loan Assn., 198

lll.App.3d 445, 452 (5th Dist. ! 990). Fu1iher, recognizing the need to protect its citizens from

banns such as identity theft, lllinois enacted BIPA specifically to regulate the collection, use,

safeguarding, handling, storage, retention, and destruction of biometric identifiers and

information. A class action would help ensure that Plaintiff and all other similarly-situated

individuals have a means of redress against Defendants for their widespread violations ofBIPA.

       B.      Common Questions Of Law And Fa£! Exist That Predominate Over Any
               Questions Solely Affecting Individual Members Of Th£ Cla$$ 1

       Courts analyze commonality and predominance under Section 2-80 I by identifying the

substantive issues that will control the outcome of the case. See Bemis v. Safeco lns. Co. t!{ Am.,

407 Ill. App. 3d 1164, 1167 (5th Dist. 20! I); Cruz, 383 Ill. App. 3d at 773. The question then

becomes whether those issues will predominate and whether they are common to the class,

meaning that "favorable adjudication of the claims of the named plaintiffs will establish a right of

recovery in other class members." Cruz, 383 Ill. App. 3d at 773. As stated by the Court of Appeals,

the question is will "common ... issues be the subject of the majority of the efforts of the litigants

and the court[?]" Bemis, 407 Ill. App. 3d at 1168. The answer here is "yes."

       At the heart of this litigation is Defendants' culpable conduct under BIPA. The issues are

simple and straightforward legal questions that plainly lend themselves to class-wide resolution.

Notwithstanding the clear and unequivocal requirements of the law, Defendants disregarded

Plaintiff's and other similarly-situated individuals' statutorily-protected privacy rights and

unlawli.1lly collected, stored, used, and disseminated their biometric data in direct violation of

BIPA. Specifically, Defendants have violated and continues to violate B!PA because they failed



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and continue to fail to: (I) inform Plaintiff or the putative class in writing of the specific purpose(s)

and length of time for which their fingerprints were being collected, stored, used, and disseminated

as required by BIPA; (2) provide a publicly available retention schedule and guidelines for

permanently destroying Plaintiffs and the putative class's fingerprints, as required by BIPA; and

(3) receive a written release from Plaintiff or the putative class to collect, capture, use or otherwise

obtain their fingerprints, as required by BIPA. Defendants treated the entire proposed class in

precisely the same manner, resulting in identical violations of BIPA. These common practices

create common issues of law and fact. In fact, the legality of Defendants' collection., storage, use,

and disseminat.ion of White Castle employees' biometric data is the focus of this litigation.

        Indeed, once this Court determines whether Defendants' practices of collecting, storing,

and using individuals' bi.ometric data without adhering to the specific requirements of BIPA

constitutes violations thereof, liability for the claims of class members will be determined in one

stroke. The material facts and issues of law are substantially the same for the members of the class,

and therefore these common issues could be tried such that proof as to one claimant would be

proof as to all members of the class. This alone establishes predominance. The only remaining

questions will be whether Defendants' vi<Jlations caused members of the class to suffer damages

and the proper measure of damages and injunctive relief, which in and of themselves are questions

common to the class. Accordingly, a favorable adjudicati<Jn of the Plaintiff's claims in this case

will establish a right of recovery to all other class members, and thus the c<Jmmonality and

predominance requirements weigh in favor of certification of the. class.

        C.      The Named Plaintiff And Class Counsel Are Adequate Representatives Of The
                ~

        When evaluating adequacy, courts look to whether the named plaintiff has the same

interests as those of the class and whether he or she will fairly represent them. See CE Design Ltd.,



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2015 IL App. ( l st) l 31465,   ,r   16. In this case, Plaintiff's interest arises from statute. The class

representative, Latrina Cothron, is a member <)f the prOp()sed class and will fairly and adequately

protect the class's interests. Plaintitl: as a condition of employment, was required to have her

fingerprints scanned to access her paystubs and company computers. Defendants subsequently

stored Plaintiffs fingerprints in their datubase(s). Plaintiff has never been informed of the specific

limited purposes (if any) or length of time for which any Defendant collected, stored, used, or

disseminated her biometric data. Plaintiff lms never been informed of any biometric data retention

policy developed by any Defendant, nor has she ever been informed whether any Defendant will

ever permanently delete her fingerprints. Finally, Plaintiff has never been provided, nor did she

ever sign, a written release allowing any Defendant to collect, store, use, or disseminate her

fingerprints. Thus, Plaintiff was a victim of the same uniform policies and practices of Defendants

as the individuals she seeks to represent and is not seeking any relief that is potentially antagonistic

to other members of the class. What is more, Plaintiff has the interests of those class members in

mind, as demonstrated by her willingness to sue on a class-wide basis and step forward as the class

representative, which subjects her to discovery. (See Exhibit A - Affidavit of Latrina Cothron).

This qualifies her as a conscientious representative plaintiff and satisfies the adequacy of

representation requirement.

        Proposed Class Counsel, Stephan Zouras, LLP, will also fairly and adequately represent

the class. Proposed Class Counsel are highly qualified and experienced attorneys. (See Exhibit B

- Affidavit of Andrew C. Ficzko and the Firm Resume attached thereto as Exhibit l ). Stephan

Zouras, LLP, are recognized attorneys in class action lawsuits and have been designated as class

counsel in numerous class actions in state and federal comis. (See Exhibit B, Exhibit 8-l ). Thus,




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proposed Class Counsel, too, are adequate and have the ability and resources to manage this

lawsuit.

       D.        A Clas& Action Is The Appropriate Method For Fair And Efficient
                 Adjudication Of This Controversy.

       Finally, a class action is the most appropriate method for the fair and efficient adjudication

of this controversy, rather than bringing individual suits which could result in inconsistent

determinations and unjust results. "It is proper to allow a class action where a defendant is alleged

to have acted wrongfully in the same basic manner toward an entire class." P.J. ·s Concrete

Pumping Service. Inc. v. Nextel West Corporation, 345 Ill. App. 3d 992, 1003 (2d Dist. 2004).

"The purported class representative must establish that a successfol adjudication of its individual

claims will establish a right ofrecovery or resolve a central issue on behalf of the class members."

Id.

           Herc, Plaintiffs claims stem from Defendants' common and uniform policies and

practices, resulting in common violations of BIPA for all members of the class. Thus, class

certification will obviate the need for unduly duplicative litigation that might result in inconsistent

judgments concerning Defendants' practices. Wemhold v. AT&T Technologies. Inc., 142 Ill. App.

3d 612 ( I st Dist. l 986). Without a class, the Court would have to hear dozens, if not hundreds, of

additional individual cases raising identical questions of liability. Moreover, class members arc

better served by pooling resources rather than attempting to litigate individually. CE Design Ltd.,

2015 lL App. (I st) 131465, ilil 28-30 (certifying TCPA class where statutory damages were alleged

and rejecting arguments that individual lawsuits would be superior). In the interests of justice and

judicial efficiency, it is desirable to concentrate the litigation of all class members' claims in a

single forum. For all of these reasons, the class action is the most appropriate mechanism to

adjudicate the claims in this case.



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       E.      In The Event The Court Or Defendants Seeks More Factual Information
               Regarding This Motion, The Court Should Allow Supplemental And
               Deferred Briefing Following Discovery.
       There is no meaningful need for discovery for the Court to certify a class in this matter;

Defendants' practices and policies are uniform. If. however, the Court wishes for the Parties to

engage in discovery, the Court should keep the instant motion pending during the discovery period,

allow Plaintiff,\ supplemental brief, and defer Defendants' response and Plaintiff's reply. Plaintiff

is moving as early as possible for class certification in part to avoid the "buy-off problem,'' which

occurs when a defendant seeks to settle with a class representative on individual terms in an effort

to moot the class claims asserted by the class representative. Plaintiff is also moving for class

cert.ification now because the class should be certified, and because no meaningful discovery is

necessary to establish that fact. The instant motion is far more than a placeholder or barebones

memorandum. Rather, Plaintiffs full arguments are set forth based on the facts known at this

extremely early stage of litigation. Should the Court wish for more detailed factual information,

the briefing schedule should be extended.

                                         IV.    Conclusion

        For the reasons stated above, Plaintiff respectfully requests that the Court enter an Order:

(1) certifying Plaintiffs claims as a class action; (2) appointing Plaintiff Latrina Cothron as Class

Representative; (3) appointing Stephan Zouras, LLP as Class Counsel; and (4) authorizing court•

facilitated notice of this class action to the class. In the alternative, this Court should allow

discovery, allow Plaintiff to supplement this briefing, and defer response and reply briefs.




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        Date: January 8, 2019                       Respectfully Submitted,

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                                    CERTIFICATE OF SERVICE

          I, the attorney, hereby certify that 011 January 8, 2019, I electronically filed the attached

with the Clerk of the Court using the ECF system which will send such filing to all attorneys of

record.




                                                                    /.1/ Andrew C. Ficzko




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                  EXHIBIT 3
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 Florida Department of State                                                                                       D           C




      Department of State / Division of Corporations / Search Records / Detail By Document Number /



         Detail by Entity Name
         Foreign Profit Corporation
         CROSS MATCH TECHNOLOGIES, INC.
         Filing Information

         Document Number                  F02000002124
         FEI/EIN Number                   XX-XXXXXXX
         Date Filed                       04/29/2002
         State                            DE
         Status                           ACTIVE
         Last Event                       CANCEL ADM DISS/REV
         Event Date Filed                 11/14/2006
         Event Effective Date             NONE
         Principal Address

         3950 RCA BOULEVARD, SUITE 5001
         PALM BEACH GARDENS, FL 33410

         Changed: 02/01/2005
         Mailing Address

         3950 RCA BOULEVARD, SUITE 5001
         PALM BEACH GARDENS, FL 33410

         Changed: 02/01/2005
         Registered Agent Name & Address

         CORPORATION SERVICE COMPANY
         1201 HAYS STREET
         TALLAHASSEE, FL 32301-2525

         Name Changed: 04/06/2006

         Address Changed: 04/06/2006
         Officer/Director Detail

         Name & Address

         Title SECRETARY, VICE PRESIDENT

         HUTTON , KATHRYN
         3950 RCA BOULEVARD, SUITE 5001
         PALM BEACH GARDENS, FL 33410

http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=CROSSMA…   1/2
1/18/2019                                         Detail by01/18/19
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        Title CEO, Director

        Agostinelli, Richard
        3950 RCA BOULEVARD, SUITE 5001
        PALM BEACH GARDENS, FL 33410

        Title CFO

        Cahill, Jerry
        3950 RCA BOULEVARD, SUITE 5001
        PALM BEACH GARDENS, FL 33410


        Annual Reports

         Report Year               Filed Date
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         2017                      05/31/2017
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         04/01/2008 -- ANNUAL REPORT            View image in PDF format

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         04/06/2006 -- Reg. Agent Change        View image in PDF format

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         02/25/2003 -- ANNUAL REPORT            View image in PDF format

         04/29/2002 -- Foreign Profit           View image in PDF format




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                  EXHIBIT 4
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                                                           File Detail Report
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            CORPORATION FILE DETAIL REPORT
             File Number                  71748871

             Entity Name                  WHITE CASTLE SYSTEM, INC.

             Status                       ACTIVE

             Entity Type                  CORPORATION                   Type of Corp                 FOREIGN BCA

             Qualification Date           09/05/2018                    State                        OHIO
            (Foreign)

             Agent Name                   CORPORATE CREATIONS           Agent Change Date            09/05/2018
                                          NETWORK IN

             Agent Street Address         350 S NORTHWEST HIGHWAY       President Name & Address     ELIZABETH K INGRAM 555 W
                                          #300                                                       GOODALE ST COLUMBUS OH
                                                                                                     43215

             Agent City                   PARK RIDGE                    Secretary Name & Address     R ANTHONY JOSEPH 555 W
                                                                                                     GOODALE ST COLUMBUS OH
                                                                                                     43215

             Agent Zip                    60068                         Duration Date                PERPETUAL

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